[Cite as State v. Ruggles, 2024-Ohio-3128.]




                               IN THE COURT OF APPEALS OF OHIO
                                  SECOND APPELLATE DISTRICT
                                        GREENE COUNTY

 STATE OF OHIO                                      :
                                                    :
       Appellee                                     :   C.A. No. 2024-CA-2
                                                    :
 v.                                                 :   Trial Court Case No. 2023-E-00004-
                                                    :   01,02,03,04,05
 LATRICIA RUGGLES                                   :
                                                    :   (Appeal from Common Pleas Court-
       Appellant                                    :   Juvenile Division)
                                                    :

                                               ...........

                                               OPINION

                                      Rendered on August 16, 2024

                                               ...........

MAXWELL D. NEWSOME, Attorney for Appellant

MEGAN A. HAMMOND, Attorney for Appellee

                                              .............

WELBAUM, J.

        {¶ 1} Appellant Latricia Ruggles appeals from her convictions in the Greene

County Court of Common Pleas, Juvenile Division, after a jury found her guilty of five

counts of contributing to the unruliness of a child in violation of R.C. 2919.24(B)(2). In

support of her appeal, Ruggles contends that the complaint charging her with those
                                                                                          -2-


counts was defective because it failed to set forth all the essential elements of the charged

offense as required by Crim.R. 3. Ruggles claims that such a defect warranted the

dismissal of the complaint and that this court should reverse her convictions on that basis.

Ruggles also claims that her convictions should be reversed because they were not

supported by sufficient evidence and were against the manifest weight of the evidence.

Ruggles further claims that a reversal is warranted because the trial court committed

prejudicial error by prohibiting the admission of certain testimony about Ruggles’s niece

on grounds that such testimony was irrelevant. For the reasons outlined below, the

judgment of the trial court will be affirmed.



                            Facts and Course of Proceedings

       {¶ 2} On August 10, 2023, the State, through the attendance officer of Fairborn

City Schools, filed a complaint charging Ruggles with five first-degree-misdemeanor

counts of contributing to the unruliness of a child in violation of R.C. 2919.24(B)(2). The

complaint alleged that Ruggles had acted in a way tending to cause her teenage Daughter

(“Daughter”) to become an unruly child during five periods of time between September

2022 and May 2023. Under each of the five counts, the complaint alleged that Ruggles

had failed to ensure that Daughter attended the public school at which she was enrolled

and that Daughter had been absent from school without excuse for either 30 or more

hours in a week or 42 hours in a month.

       {¶ 3} After being served with the complaint, on August 25, 2023, Ruggles had

counsel appear on her behalf and file a motion to dismiss the complaint on grounds of
                                                                                        -3-


selective prosecution.   On September 21, 2023, the trial court overruled Ruggles’s

motion to dismiss.

      {¶ 4} On September 27, 2023, Ruggles filed a second motion to dismiss the

complaint in which Ruggles argued, among other things, that the complaint was defective

because it failed to include a written statement of the essential facts constituting the

charged offense as required by Crim.R. 3. On October 23, 2023, the trial court issued a

decision overruling Ruggles’s second motion to dismiss.         Although the trial court

overruled the motion, it found that the time period of the conduct alleged under Count

One of the complaint, i.e., September 15, 2022, through December 8, 2022, partially

overlapped with conduct alleged in a separate case against Ruggles that had been

dismissed with prejudice. As a result, the trial court narrowed the time period alleged in

Count One to November 18, 2022, through December 8, 2022.

      {¶ 5} Ruggles’s case thereafter proceeded to a two-day jury trial. During trial, the

State presented testimony from the Greene County Juvenile Court diversion counselor

who was assigned to Ruggles’s case. The State also presented testimony from various

school officials and staff members, including the attendance officer of Fairborn City

Schools, the assistant principal at Fairborn High School, the attendance and main-office

secretaries at Fairborn High School, and Daughter’s history teacher. In her defense,

Ruggles presented testimony from two Fairborn police officers who had assisted her with

Daughter. Ruggles also presented testimony from her husband, Claudio; her long-time

friend, Jamie; her teenage niece that lived with her and went to school with Daughter; and

Daughter. The following is a summary of the relevant information that was presented at
                                                                                         -4-


trial.

         {¶ 6} In January 2022, Ruggles enrolled Daughter, who was then 14 years old, at

Fairborn High School when Daughter was in the ninth grade. On May 20, 2022, the

attendance officer of Fairborn City Schools sent Ruggles a “Habitually Truant Notice”

advising her that Daughter had been absent from school without legitimate excuse for

either 30 or more consecutive hours, 42 or more hours in one school month, or 72 hours

during the school year. State’s Exhibit 1, p. 94. There is no dispute that if a student

meets any of the foregoing criteria, the student is considered a “habitual truant” pursuant

to R.C. 2151.011(B)(18).

         {¶ 7} The “Habitually Truant Notice” stated that, because Daughter had met the

threshold for becoming a habitual truant within 21 school days prior to the last day of the

2021-2022 school year, the school was going to schedule an absence intervention

meeting to occur sometime after the start of the 2022-2023 school year. The notice

requested that Ruggles participate in the meeting and advised that the meeting would

involve discussing Daughter’s attendance with a school official and forming an absence

intervention plan. The notice further advised that if the interventions were unsuccessful,

or if more unexcused absences were accumulated after implementing the plan, the school

would have to file a complaint with the Greene County Juvenile Court.

         {¶ 8} On August 24, 2023, Ruggles attended an absence intervention meeting with

Fairborn High School’s assistant principal and guidance counselor. Ruggles attended

the meeting via an online video conference call service known as Google Meet. During

the meeting, Ruggles indicated that Daughter’s absences were due to the loss of her
                                                                                       -5-


grandmother, hospital visits, missing the bus, and adjusting to a new school and

schedule. After discussing the reasons for Daughter’s absences, the parties developed

an absence intervention plan. The plan included Daughter attending school daily and

communicating and reporting absences to the school. The plan also consisted of the

school monitoring Daughter’s attendance as well as providing any support and/or

resources needed to help Daughter maintain good attendance. State’s Exhibit 1, p. 102.

      {¶ 9} Although the absence intervention plan went into effect on September 6,

2022, Daughter’s attendance did not improve. The State presented records establishing

that the school sent Ruggles several written notices of excessive absences and habitual

truancy pertaining to Daughter throughout the 2022-2023 school year. Specifically, the

school sent notices of excessive absences to Ruggles on October 31, 2022; November

8, 2022; February 16, 2023; March 23, 2023; April 14, 2023; and May 16, 2023. State’s

Exhibit 1, p. 123-129. In addition, the school sent notices of habitual truancy to Ruggles

on November 21, 2022; February 16, 2023; March 23, 2023; April 10, 2023; April 18,

2023; May 23, 2023; and May 25, 2023. Id.
      {¶ 10} The records presented by the State also established that the school tried to

call Ruggles on November 28, and 30, 2022, to discuss Daughter’s habitual truancy, and

that Ruggles hung up on both occasions.       Id. at 125-126.    In addition, the records

established that on November 28, 2022, the school sent Ruggles an e-mail invitation to

participate in a second absence intervention meeting, which the assistant principal

indicated that Ruggles did not attend.

      {¶ 11} Daughter’s history teacher also contacted Ruggles several times via e-mail
                                                                                        -6-


and text messages and voiced concerns about Daughter’s poor attendance. Despite the

history teacher’s setting up a telephone parent-teacher conference around Ruggles’s

work schedule, Ruggles failed to attend the conference. As a result, the history teacher

testified that she never had the opportunity to discuss the reasons for Daughter’s

absences with Ruggles.

      {¶ 12} Given the lack of improvement in Daughter’s attendance, a third absence

intervention meeting was scheduled for February 23, 2023, which Ruggles did not attend.

The assistant principal testified that she called Ruggles and left her a voice message on

February 16, 2023, to schedule the absence intervention meeting, and that Ruggles

responded the same day with a voice message stating that she refused to participate in

the meeting.   The assistant principal testified that Ruggles also left a second voice

message an hour later stating that she was not being notified of her Daughter’s absences

because the school was using the wrong phone number to contact her.

      {¶ 13} The attendance secretaries at Fairborn High School testified that the school

uses an automated phone system that initiates calls to parents at 9:15 a.m. to notify them

when their child is marked absent from school.       The secretaries explained that the

automated system calls the primary phone number listed on a child’s emergency contact

and health information form—a form that is completed by parents at the time their child is

enrolled with the school. The secretaries’ testimony established that only parents can

update the primary phone number listed on the emergency contact form, and that Ruggles

had updated Daughter’s form on October 6, 2022.

      {¶ 14} The State presented a call sheet that the attendance secretaries identified
                                                                                       -7-


as the record of automated calls made to Ruggles when Daughter was marked absent

from school. State’s Exhibit 1, p. 133-139. The call sheet showed that, during the

relevant time periods, the automated phone system called Ruggles multiple times each

day her Daughter was marked absent from school, with the exception of two days—

November 18, 2022, and April 14, 2023. The call sheet showed that out of 45 full-day,

unexcused absences that Daughter had during the relevant time periods, Ruggles was

successfully reached for 35 of those absences using the primary phone number listed on

Daughter’s emergency contact form.      The call sheet also showed that Ruggles had

received a voice message for six of the absences, was not successfully reached for two

of the absences, and, as previously discussed, received no call for two of the absences.

Although Ruggles had been reached a majority of the time, the attendance secretaries

did not recall Ruggles ever calling the office to give an excuse for Daughter’s absences.

      {¶ 15} Due to Daughter’s continued unexcused absences, the attendance officer

of Fairborn City Schools filed a complaint against Ruggles in the Greene County Juvenile

Court. As previously discussed, the complaint alleged five counts of contributing to the

unruliness of a child in violation of R.C. 2919.24(B)(2), with each count relating to a

specific time frame during the 2022-2023 school year. The State presented records

establishing that Daughter had had a total of 45 full-day, unexcused absences during the

time frames alleged in the complaint and 56 full-day, unexcused absences during the

entire 2022-2023 school year. State’s Exhibit 1, p. 117-121. Daughter also had four

unexcused partial absences and five unexcused tardies during the school year. The

following table shows the number and timing of Daughter’s full-day, unexcused absences
                                                                                         -8-


in relation to each count of the complaint.


       Count    November 18, 2022 – December 8, 2022          2 full-day absences
        One     (as amended by the trial court)               (12 hours)1


       Count    February 3, 2023 – February 23, 2023          8 full-day absences
        Two                                                   (48 hours)


       Count    March 2, 2023 – March 24, 2023                9 full-day absences
       Three                                                  (54 hours)


       Count    April 3, 2023 – April 28, 2023                13 full-day absences
       Four                                                   (78 hours)


       Count    May 2, 2023 – May 26, 2023                    13 full-day absences
        Five                                                  (78 hours)


       {¶ 16} The complaint against Ruggles was referred to the Greene County Juvenile

Court’s Diversion Program, and the matter was thereafter scheduled for an informal

diversion hearing with the court’s diversion counselor. The purpose of the diversion

hearing was to try and resolve Daughter’s attendance issues before the matter was

officially submitted to the juvenile court. On May 11, 2023, Ruggles and the assistant

principal appeared at court for the diversion hearing. The diversion counselor testified

regarding the hearing and stated that Ruggles complained that the school was not doing

a good job of notifying her when Daughter was absent from school.            Ruggles also

claimed that Daughter was being marked absent for full days when they were only half-


1 The assistant principal provided testimony indicating that a school day is six hours long.

See Trial Tr., p. 151.
                                                                                        -9-


day absences. In addition, the diversion counselor testified that Ruggles was upset

about the complaint being filed against her and decided to contest the complaint as

opposed to utilizing the court’s Diversion Program. As a result, the diversion counselor

officially submitted the complaint to the Greene County Juvenile Court.

       {¶ 17} The assistant principal testified that Ruggles had claimed that a barrier to

Daughter’s attendance at school was that she (Ruggles) worked from 10 a.m. to 10 p.m.,

and that her husband got Daughter up in the morning but could not guarantee Daughter

got on the school bus because he had to leave for work. During his testimony, Ruggles’s

husband, Claudio, confirmed that Ruggles worked from 10 a.m. to 10 p.m. He also

testified that Ruggles worked from home. In addition, he testified that Ruggles suffered

from back issues and that Ruggles had fallen and injured her ankle sometime during the

fall of 2022. According to Claudio, Ruggles’s ankle injury required her to be on crutches

for a month. Claudio also claimed that Ruggles had to “[wear] something to help her

walk.” Trial Tr., p. 122, 124. When asked whether Ruggles was allowed to drive after

her ankle injury, Claudio testified that did not know whether Ruggles’s doctor had told her

not to drive.

       {¶ 18} Claudio also testified that between September 2022 and May 2023, he was

the person who always woke up Daughter in the mornings. He testified that Daughter’s

school bus arrived around 6:30 a.m. and that he did not know whether Daughter made it

on the bus since he had to leave for work before that time. He also testified that once

he woke up Daughter, it was Daughter’s responsibility to get up and go to school.

However, Claudio’s testimony indicated that Daughter did not always respond when he
                                                                                           -10-


woke her up. When asked if there were any other ways for Daughter to wake up other

than him, Claudio testified that Daughter had an Alexa alarm. Claudio also indirectly

indicated that Ruggles was asleep during the time Daughter was supposed to wake up

for school. Claudio testified that Ruggles “works from 10:00 a.m. to 10:00 p.m. and, you

know, she has a back issue, she has some medical issues. She gets home tired. So

my compromise, at least, is that I will get them up in the mornings.” Trial Tr., p. 120.

       {¶ 19} Ruggles’s 17-year-old niece, who lived with Ruggles and went to school

with Daughter, testified that Claudio was the person who woke her and Daughter up in

the mornings. Ruggles’s niece also testified that Ruggles would sometimes wake her

and Daughter up, but not every day. Ruggles’s niece testified that if she (the niece)

missed the bus, she would either call an Uber driver to come pick her up while Ruggles

was sleeping or she would go and tell Ruggles that she had missed the bus. Ruggles’s

niece testified that when she told Ruggles that she had missed the bus, Ruggles would

sometimes call and have the bus come back and pick her up. Ruggles’s niece, however,

testified that she did not typically miss the bus. Ruggles’s niece also did not indicate

whether Ruggles ever called the bus back for Daughter.

       {¶ 20} Daughter testified that either Claudio or her Alexa alarm would wake her up

on school mornings.      Daughter’s testimony and the testimony of Ruggles’s niece

indicated that Daughter would miss the bus either because Daughter did not wake up or

because she would sneak back into her house after initially going out to the bus stop.

Daughter testified that Ruggles would be sleeping when she snuck back into the house

and would not hear her return. Daughter claimed that once she was back inside the
                                                                                        -11-


house, she would hide in her room or the basement and fall asleep. Ruggles’s niece

testified that Ruggles would sometimes lock Daughter out of the house if she caught

Daughter trying to sneak back inside. Daughter testified that on the occasions when she

would arrive late at school after missing the bus, she would not always notify the school

of her presence by signing in at the office.     Daughter also testified that she would

sometimes leave school and go to Starbucks and Kroger.

       {¶ 21} Ruggles’s long-time friend, Jamie, testified that Ruggles woke Daughter up

every single morning. However, on cross-examination, Jamie clarified that Ruggles did

so using Alexa alarms and Claudio. Jamie testified that she would occasionally stay

overnight at Ruggles’s residence and observe Ruggles go upstairs to wake up Daughter

in the morning. Jamie clarified, however, that she observed this before Ruggles hurt her

ankle during the 2022-2023 school year.       According to Jamie, that injury prevented

Ruggles from going upstairs to see if Daughter was still at home and from driving

Daughter to school.    Jamie also testified that Ruggles had ongoing car trouble that

prevented Ruggles from driving Daughter to school. Jamie testified that Ruggles’s car

trouble began around April 2022 and was resolved around March 2023. Daughter and

Ruggles’s niece also testified that Ruggles did not have reliable transportation during the

2022-2023 school year. Ruggles’s niece testified that their vehicle was fixed just a week

before trial. Jamie testified that during Ruggles’s injury and car trouble, she would give

Ruggles rides “a lot of different times for different things whenever she needed me.” Trial

Tr., p. 270.

       {¶ 22} When asked what efforts Ruggles made to get Daughter to go to school,
                                                                                            -12-


Jamie testified that Ruggles set Alexa alarms for Daughter and would try to bribe

Daughter to go to school by buying her new clothes. However, Jamie did not know

whether Ruggles ever made any arrangements or efforts to get Daughter to school when

Daughter missed the bus. Ruggles’s niece testified that Ruggles would give Daughter

spending money to go to school but would also take away Daughter’s phone or ground

Daughter as punishment for missing school. Daughter similarly testified that Ruggles

would ground her, give her a “whipping,” and take her phone away as punishment for

missing school. Trial Tr., p. 303. Daughter also claimed that Ruggles would plead with

her to go to school and would tell Ruggles’s niece to make sure that she (Daughter) woke

up and got on the bus. Daughter also claimed that Ruggles called the police on her when

she ran away after refusing to go to school. The defense presented brief testimony from

two police officers who confirmed that they had responded to a call about Daughter on

October 18, 2022.

       {¶ 23} After considering the testimony and exhibits presented at trial, the jury found

Ruggles guilty of all five counts of contributing to the unruliness of a child that were alleged

in the State’s complaint. At sentencing, the trial court imposed a six-month jail term for

each of the five counts. The trial court, however, suspended the jail terms for Counts

One, Two, Three, and Four, and all but 60 days of the jail-term imposed for Count Five.

The trial court ordered the resulting 60-day jail term to be served by Ruggles on weekends

beginning November 17, 2023. The trial court also ordered Ruggles to pay $80 in court

costs, $469.51 in subpoena fees, and a $150 fine for each count with $100 suspended

on the condition that Daughter attend school as required by law. The trial court further
                                                                                       -13-


ordered Ruggles to complete a parenting class and to ensure that Daughter attends

school every day on time.

       {¶ 24} Ruggles appeals from her convictions, raising four assignments of error for

review.



                               First Assignment of Error

       {¶ 25} Under her first assignment of error, Ruggles contends that the trial court

erred by overruling her second motion to dismiss the State’s complaint. Ruggles claims

that the complaint was invalid and should have been dismissed because it failed to set

forth all the essential elements of contributing to the unruliness of a child under R.C.

2919.24(B)(2). We disagree.

       {¶ 26} As a preliminary matter, we note that an appellate court reviews a trial

court’s decision on a motion to dismiss a complaint de novo. State v. Fields, 2017-Ohio-

400, ¶ 19 (2d Dist.); State v. Miles, 2018-Ohio-4444, ¶ 7 (2d Dist.). “ ‘De novo review

requires an independent review of the trial court’s decision without any deference to the

trial court’s determination.’ ” Fields at ¶ 19, quoting State v. Clay, 2016-Ohio-424, ¶ 5

(2d Dist.).

       {¶ 27} The purpose of a complaint is to give the accused adequate notice of the

crime charged. Fields at ¶ 17. Crim.R. 3 governs the requirements of a valid complaint

in Ohio and provides, in relevant part, that a complaint must contain “the essential facts

constituting the offense charged.” Crim.R. 3; State v. Sampson, 2008-Ohio-775, ¶ 10

(2d Dist.). Ohio courts have uniformly held that the phrase “essential facts constituting
                                                                                          -14-


the offense charged” means “those facts which the State must prove in order to obtain a

conviction, i.e., the essential elements of the crime charged.” State v. Wheeler, 2017-

Ohio-1200, ¶ 7 (2d Dist.), citing Sampson at ¶ 10. “Therefore, a complaint must contain

the essential elements of the crime charged.” (Citations omitted.) Sampson at ¶ 10.

       {¶ 28} A complaint that alleges an offense in the language of the statute on which

the offense is based is sufficient to satisfy the essential-elements requirement in Crim.R.

3. State v. Gerding, 1998 WL 666950, *2 (6th Dist. Sept. 30, 1998), citing State v.

Broughton, 51 Ohio App.3d 10, 11 (12th Dist. 1988); accord Wheeler at ¶ 7 (“[g]enerally,

the requirements of a complaint or indictment may be met by reciting the language of the

criminal statute”), citing State v. Childs, 88 Ohio St.3d 194, 199 (2000), citing State v.

Murphy, 65 Ohio St.3d 554, 583 (1992). “It is well-settled under Ohio law that a charging

instrument affords adequate notice to the accused if it tracks the language of the statute.”

(Citation omitted.) State v. Santos, 2020-Ohio-1043, ¶ 39 (2d Dist.). A “complaint that

does not set forth all of the essential elements of the crime [however] is invalid.” Wheeler

at ¶ 7, citing Sampson at ¶ 9, citing State v. Cimpritz, 158 Ohio St. 490 (1953).

       {¶ 29} As previously discussed, Ruggles contends that the State’s complaint was

invalid and should have been dismissed because it did not contain all the essential

elements of contributing to the unruliness of a child under R.C. 2919.24(B)(2). Pursuant

to that statute: “No person, including a parent, guardian, or other custodian of a child,

shall . . . [a]ct in a way tending to cause a child or a ward of the juvenile court to become

an unruly child or a delinquent child[.]” R.C. 2919.24(B)(2). An “unruly child” includes

“[a]ny child who is a habitual truant from school[.]”     R.C. 2151.022(B).      A “habitual
                                                                                         -15-


truant” is defined as “any child of compulsory school age who is absent without legitimate

excuse for absence from the public school the child is supposed to attend for thirty or

more consecutive hours, forty-two or more hours in one school month, or seventy-two or

more hours in a school year.” R.C. 2151.011(B)(18).

       {¶ 30} Ruggles claims that the State’s complaint failed to allege that she had

affirmatively acted in a way tending to cause Daughter to become an unruly child.

However, the record establishes that such an allegation was made within the complaint.

The complaint specifically alleged that Ruggles “did act in a way tending to cause a child

or a ward of the juvenile court, [Daughter], . . . to become an unruly child[.]” Complaint.

More specifically, the complaint alleged that, during five specific periods of time, Ruggles

“failed to ensure that [Daughter] attended the public school for which she was enrolled”

and that Daughter “was absent without legitimate excuse for more than 30 hours in a

week or 42 [hours] in a month period.” Id. The complaint also alleged that Ruggles

failed to participate in developing two absence intervention plans from November 30,

2022, and February 23, 2023. We find that the foregoing language in the complaint

tracked the language of R.C. 2919.24(B)(2) and sufficiently alleged that Ruggles acted in

a way tending to cause Daughter to become an unruly child. Accordingly, Ruggles’s

argument to the contrary lacks merit.

       {¶ 31} Ruggles also argues that the State’s complaint failed to allege the

applicable culpable mental state of recklessness. We note that recklessness “is the

catchall culpable mental state for criminal statutes that fail to mention any degree of

culpability, except for strict liability statutes, where the accused’s mental state is
                                                                                         -16-


irrelevant.” State v. Lozier, 2004-Ohio-732, ¶ 21. The Supreme Court of Ohio has

explained that: “An indictment that charges an offense by tracking the language of the

criminal statute is not defective for failure to identify a culpable mental state when the

statute itself fails to specify a mental state.” (Citations omitted.) State v. Horner, 2010-

Ohio-3830, paragraph one of the syllabus; accord State v. Lang, 2011-Ohio-4215, ¶ 36-

37, and State v. Curry, 2014-Ohio-3836, ¶ 57 (2d Dist.).

       {¶ 32} As previously discussed, the State’s complaint tracked the language of R.C.

2919.24(B)(2), a statute which does not specify a culpable mental state. Therefore, the

omission of the applicable culpable mental state of recklessness in the complaint did not

constitute a defect.   See Curry at ¶ 57.     Accordingly, Ruggles’s argument that the

State’s complaint was invalid for failing to allege recklessness as an element of

contributing to the unruliness of a minor under R.C. 2919.24(B)(2) lacks merit.

       {¶ 33} Ruggles’s first assignment of error is overruled.




                              Second Assignment of Error

       {¶ 34} Under her second assignment of error, Ruggles contends that the evidence

presented at trial was insufficient to support her five convictions for contributing to the

unruliness of a child under R.C. 2919.24(B)(2). We disagree.



                                   Standard of Review

       {¶ 35} “A sufficiency of the evidence argument disputes whether the State has
                                                                                           -17-


presented adequate evidence on each element of the offense to allow the case to go to

the jury or sustain the verdict as a matter of law.” State v. Wilson, 2009-Ohio-525, ¶ 10

(2d Dist.), citing State v. Thompkins, 78 Ohio St.3d 380 (1997). “When reviewing a claim

as to sufficiency of evidence, the relevant inquiry is whether any rational factfinder viewing

the evidence in a light most favorable to the state could have found the essential elements

of the crime proven beyond a reasonable doubt.” (Citations omitted.) State v. Dennis,

79 Ohio St.3d 421, 430 (1997). “The verdict will not be disturbed unless the appellate

court finds that reasonable minds could not reach the conclusion reached by the trier-of-

fact.” (Citations omitted.) Id.
       {¶ 36} When reviewing a general challenge to the sufficiency of the evidence, as

we are here, “we consider all of the evidence admitted at trial, regardless of the proponent

of the evidence[.]”     State v. Harris, 2023-Ohio-648, ¶ 33 (2d Dist.).          Therefore,

“[e]vidence supporting the sufficiency of the evidence may be introduced during the

defense’s case-in-chief.” Id., citing State v. Stokes, 2016-Ohio-612, ¶ 26 (2d Dist.), citing

State v. Richardson, 2015-Ohio-757, ¶ 22 (2d Dist.), reversed on other grounds by 2016-

Ohio-8448.



                         Contributing to the Unruliness of a Child

       {¶ 37} A person, including a parent or guardian, commits the offense of

contributing to the unruliness of a child in violation of R.C. 2919.24(B)(2) when he or she

“[a]ct[s] in a way tending to cause a child or a ward of the juvenile court to become an

unruly child or a delinquent child.” R.C. 2919.24(B)(2). An “unruly child” includes “[a]ny
                                                                                            -18-


child who is a habitual truant from school[.]”       R.C. 2151.022(B).      “ ‘Habitual truant’

means any child of compulsory school age who is absent without legitimate excuse for

absence from the public school the child is supposed to attend for thirty or more

consecutive hours, forty-two or more hours in one school month, or seventy-two or more

hours in a school year.” R.C. 2151.011(B)(18).

       {¶ 38} As previously discussed, “ ‘[t]he culpable mental state of “recklessness”

applies to the offense of contributing to the unruliness of a minor.’ ” State v. Vertrees,

2021-Ohio-1239, ¶ 20 (3d Dist.), quoting State v. Middleton, 2013-Ohio-1848, ¶ 9 (12th

Dist.), citing State v. Moody, 2004-Ohio-6395, syllabus; accord State v. Lewis, 2017-Ohio-

9311, ¶ 18 (2d Dist.). A person is reckless with respect to circumstances “when, with

heedless indifference to the consequences, the person disregards a substantial and

unjustifiable risk that the person’s conduct is likely to cause a certain result or is likely to

be of a certain nature.” R.C. 2901.22(C).

       {¶ 39} The State’s complaint against Ruggles alleged that Ruggles had acted in

way tending to cause Daughter to be an unruly child/habitual truant during five periods of

time, i.e., November 18, 2022, through December 8, 2022 (Count One as amended by

the trial court); February 3, 2023, through February 23, 2023, (Count Two); March 2, 2023,

through March 24, 2023, (Count Three); April 3, 2023, through April 28, 2023 (Count

Four), and May 5, 2023, through May 26, 2023 (Count Five). Therefore, to be convicted

of each count, the evidence presented at trial had to establish that, during each of those

time periods, Ruggles recklessly acted in a way tending to cause Daughter to become a

habitual truant.
                                                                                       -19-


      {¶ 40} When it is alleged that a defendant acted in a way tending to cause a child

to become a habitual truant, to be found guilty under R.C. 2919.24(B)(2), the State must

establish that “ ‘a child is absent from school without permission due to some act of the

defendant.’ ” (Emphasis in original.) State v. Michael, 108 Ohio App.3d 285, 289 (2d

Dist. 1996), quoting State v. Wood, 63 Ohio App.3d 855 (6th Dist. 1989), abrogated on

other grounds by Moody, 2004-Ohio-6395. However, this court has recognized that the

language of R.C. 2919.24(B)(2) has been construed as broad enough to include a

defendant’s failure to act, where an affirmative duty to act exists. Id., citing State v.

Groves, 1994 WL 313782, *1 (5th Dist. June 13, 1994). For example, in Vertrees, the

Third District Court of Appeals held that a defendant’s conviction for contributing to the

unruliness of a child was supported by sufficient evidence where the evidence established

that the defendant disregarded her responsibility to report her child’s absences from

school and failed to report the absences even though she was aware of her responsibility

to do so. Vertrees at ¶ 26.

      {¶ 41} In State v. Schnebeli, 2019-Ohio-860 (5th Dist.), the Fifth District Court of

Appeals upheld a conviction for contributing to the unruliness of a child where the

defendant testified that her ten-year-old son was a sensitive child who would not go to

school because a teacher had embarrassed him. Id. at ¶ 11. Although the defendant

testified that she had asked to have her son placed in a different class, the evidence

established that the matter was never resolved because the defendant never met with

her son’s teacher. Id.

      {¶ 42} The evidence in Schnebeli also established that there was a school bus
                                                                                        -20-


available to take defendant’s son to school, but that son frequently missed the bus

because he disliked the crowd and the noise of the bus. Id. The evidence further

established that the defendant did not work during the relevant timeframe and had her

own means of transportation to get her son to school.         Id.   In addition, the son’s

attendance did not improve after a state attendance officer provided the defendant with

an absence intervention plan and went over the plan with her. Id. at ¶ 5. The evidence

also established that the defendant missed a scheduled absence intervention meeting

because she claimed that she had never received a letter or phone call advising her of

the meeting. Id. at ¶ 12.

       {¶ 43} The defendant in Schnebeli testified that she had tried grounding her son

and taking away his video games as punishment for his not attending school. She also

testified that she went to juvenile court to file unruly charges against her son but ended

up not filing any charges.    Id.   The defendant further testified that she considered

sending her son to a school counselor, but she ultimately decided against it because

counseling had not worked for her older child. Id.

       {¶ 44} Based on the foregoing evidence, the Fifth District in Schnebeli found that

there was sufficient evidence supporting the defendant’s conviction for contributing to the

unruliness of a child. The court reached this conclusion because it found the evidence

established that the defendant sought no outside help and enabled behavior that led to

her son’s missing 42 hours of school in one month without excuse. Id. at ¶ 16-27.

       {¶ 45} In contrast, in Michael, 108 Ohio App.3d 285, this court found insufficient

evidence of contributing to the unruliness of a child where the evidence established that
                                                                                          -21-


the defendant affirmatively had tried to send her two grandchildren to school by

encouraging them to attend school, telling them they had to attend school, waking them

up in the morning for school, and, on occasion, driving one of them to school. Id. at 287,

289. In so holding, we explained that the evidence did not establish that the defendant

affirmatively kept her grandchildren home from school or failed to take steps to ensure

that her grandchildren would attend school. Id. at 290.        We also explained that the

evidence did not establish that defendant had failed to discipline her grandchildren for not

attending school. Id. Because the evidence in Michael established that the defendant

had consistently attempted, albeit unsuccessfully, to ensure that her grandchildren

attended school on a regular basis, we could not say that a rational trier of fact could have

concluded that the State had proven beyond a reasonable doubt that the defendant had

acted in a way tending to cause her grandchildren to become unruly. Id.


                                   Sufficiency Analysis

       {¶ 46} Upon review, we find that the evidence presented in this case was more

akin to the evidence presented in Schnebeli than Michael. In this case, both the State

and the defense presented evidence establishing that a significant barrier to Daughter’s

attending school during the 2022-2023 school year was her missing the bus in the

mornings. The evidence indicated that Daughter would miss the bus either because she

did not wake up or because she would sneak back into her house and hide after she

initially went out to the bus stop. The evidence also indicated that Daughter would

sometimes fail to sign in at school when she arrived late after missing the bus and would
                                                                                      -22-


sometimes leave school and go to Starbucks or Kroger.

      {¶ 47} We find it significant that there was evidence establishing that Ruggles’s

husband, Claudio, was the person who always woke Daughter up in the mornings for

school. We also find it significant that there was evidence establishing that Ruggles was

asleep during the time that Daughter had to wake up for school, and that Ruggles worked

from home between 10 a.m. and 10 p.m. Daughter specifically testified that Ruggles

would be asleep and not hear her when she would sneak back into her house from the

bus stop. The testimony of Daughter and Ruggles’s niece indicated that Daughter’s

conduct of sleeping in and/or sneaking back home from the bus stop were regular

occurrences during the 2022-2023 school year. Although Ruggles’s niece testified that

Ruggles would sometimes catch Daughter trying to sneak back into the house, the niece

testified that, on those occasions, Ruggles would lock Daughter out of the house, a

response that was not conducive to getting Daughter to school on time. In addition,

Daughter provided testimony indicating that Ruggles put the onus on her niece to make

sure that Daughter woke up and went to school.

      {¶ 48} It is also significant that the evidence established that Ruggles was aware

of Daughter’s ongoing unexcused absences throughout the 2022-2023 school year. The

State presented testimony and records establishing that the school sent Ruggles several

written notices and e-mails and made multiple phone calls to Ruggles about Daughter’s

unexcused absences and habitual truancy. Despite Ruggles having notice of Daughter’s

ongoing attendance issues, and despite Ruggles being at home and available in the

mornings to ensure that Daughter either got on the bus or had some alternate means of
                                                                                        -23-


transportation to school, the evidence established that Daughter’s attendance issues

continued throughout the 2022-2023 school year and got progressively worse. Although

there was evidence indicating that Ruggles had had car trouble and an ankle injury that

prohibited her from driving Daughter to school for a period of time, there was also

evidence of alternate forms of transportation that Ruggles could have used to get

Daughter to school. For example, the evidence indicated that Ruggles could have called

an Uber driver, requested a ride from her friend Jamie, or called the bus back like she did

for her niece.

       {¶ 49} When viewing the aforementioned evidence in a light most favorable to the

State, a rational factfinder could have concluded that, during the 2022-2023 school year,

Ruggles’s failure to monitor Daughter’s whereabouts in the mornings and failure to ensure

that Daughter either got on the bus or had some alternate means of transportation to

school was conduct that tended to cause Daughter to become a habitual truant.

Therefore, a reasonable factfinder could have reached a similar conclusion as in

Schnebeli and found that Ruggles’s conduct in the mornings enabled Daughter’s ongoing

attendance problem.     While Ruggles’s hands may have been tied with regard to

Daughter’s skipping school once she arrived on school grounds, the evidence indicated

that Daughter’s conduct of sleeping in and sneaking home from the bus stop were regular

occurrences that led to Daughter either missing school completely or arriving late to

school and not being accounted for due to not signing in with the office.

       {¶ 50} There was also evidence indicating that Ruggles failed to utilize resources

that were offered by the school and court to help with Daughter’s attendance problem.
                                                                                         -24-


Specifically, Ruggles failed to participate in absence intervention plan meetings, failed to

attend a parent-teacher conference, and declined assistance from the Greene County

Juvenile Court’s Diversion Program. Because the evidence established that Daughter’s

unexcused absences continued in full force after these failures, a rational factfinder could

have concluded that they also contributed to Daughter’s becoming a habitual truant.

       {¶ 51} Considering that Daughter had 56 full-day, unexcused absences throughout

the entire school year, 45 of which occurred during the specific time periods alleged in

the complaint, and considering the evidence of Ruggles’s conduct throughout the 2022-

2023 school year, i.e., her failure to monitor Daughter’s whereabouts in the mornings,

failure to ensure that Daughter either got on the bus or had some alternate means of

transportation to school, and failure to utilize school and court resources to address

Daughter’s attendance problem, a rational factfinder could have concluded that all five

counts were supported by sufficient evidence. That is, when viewed in a light most

favorable to the State, a rational factfinder could have concluded from the evidence that

Ruggles disregarded a substantial and unjustifiable risk that she was acting in a way

tending to cause Daughter to become an unruly child/habitual truant during the time

periods in question.

       {¶ 52} We note that the fact that the time frame alleged under Count One only

encompassed two full-day absences, which did not meet the definition of a habitual truant

under R.C. 2151.011(B)(18), did not prohibit Ruggles from being guilty of that count.

This is because a child’s status as an unruly child/habitual truant is not an element of the

offense of “tending to cause” unruliness under R.C. 2919.24(B)(2).           See State v.
                                                                                          -25-


Andriola, 70 Ohio App.3d 69, 71 (1st Dist. 1990), citing former R.C. 2919.24(A)(2) and

State v. Gans, 168 Ohio St. 174 (1958), paragraph one of the syllabus; accord Schnebeli,

2019-Ohio-860, at ¶ 22-26; State v. Stiles, 2019-Ohio-3852, ¶ 26-27 (5th Dist.); In re

Hamblin, 2014-Ohio-3289, ¶ 15 (12th Dist.); State v. Kindle, 2003-Ohio-302, ¶ 11 (3d

Dist.). That is, the question is not whether there was sufficient evidence to establish that

Daughter was an unruly child/habitual truant between November 18, 2022, and December

8, 2022, but instead whether the State produced sufficient evidence to show that, during

that time period, Ruggles acted in a manner that would tend to cause Daughter to become

an unruly child/habitual truant. See Schnebeli at ¶ 26.

       {¶ 53} Here, the time frame of Count One only encompassed 13 school days due

to Thanksgiving Break, meaning that Daughter missed two out of 13 school days. The

evidence established that before those two absences, Daughter had already accumulated

10 full-day, unexcused absences, one unexcused partial absence, and one unexcused

tardy during the 2022-2023 school year. State’s Exhibit 1, p. 120-121. Because the

evidence established that Daughter continued to have full-day absences during the

November/December time frame, a rational factfinder could have concluded that

Ruggles’s aforementioned failure to monitor Daughter in the mornings, failure to ensure

that Daughter got on the bus or had alternate transportation to school, and failure to utilize

school resources continued throughout the November/December time frame and tended

to cause Daughter to become a habitual truant.         In other words, there was enough

evidence of contributory conduct prior to and during the November/December time frame

to allowed a reasonable factfinder to conclude that Ruggles had acted in a way tending
                                                                                            -26-


to cause Daughter to become a habitual truant under Count One.

       {¶ 54} Ruggles’s second assignment of error is overruled.



                                Third Assignment of Error

       {¶ 55} Under her third assignment of error, Ruggles contends that all of her

convictions for contributing to the unruliness of a child were against the manifest weight

of the evidence. We disagree.

       {¶ 56} “A weight of the evidence argument challenges the believability of the

evidence and asks which of the competing inferences suggested by the evidence is more

believable or persuasive.” (Citation omitted.) Wilson, 2009-Ohio-525, at ¶ 12 (2d Dist.).

When evaluating whether a conviction is against the manifest weight of the evidence, the

appellate court must review the entire record, weigh the evidence and all reasonable

inferences, consider witness credibility, and determine whether, in resolving conflicts in

the evidence, the trier of fact “ ‘clearly lost its way and created such a manifest miscarriage

of justice that the conviction must be reversed and a new trial ordered.’ ” Thompkins, 78

Ohio St.3d at 387, quoting State v. Martin, 20 Ohio App.3d 172, 175 (1st Dist. 1983). A

judgment of conviction should be reversed as being against the manifest weight of the

evidence only in exceptional circumstances. Martin at 175. “The fact that the evidence

is subject to different interpretations does not render the conviction against the manifest

weight of the evidence.” State v. Adams, 2014-Ohio-3432, ¶ 24 (2d Dist.), citing Wilson

at ¶ 14.

       {¶ 57} “In reaching its verdict, the jury was free to believe all, part, or none of each
                                                                                           -27-


witness’s testimony.” (Citation omitted.)      State v. Baker, 2024-Ohio-2550, ¶ 44 (2d

Dist.). For example, the jury was free to disbelieve the testimony of Ruggles’s niece and

her friend, Jamie, indicating that Ruggles would sometimes wake Daughter up in the

mornings or that Ruggles’s ankle injury prevented her from going upstairs to check on

Daughter and from driving Daughter to school. The jury could have discredited that

testimony since Daughter and Ruggles’s husband, Claudio, testified that Claudio was

always the person who woke Daughter up in the mornings. The jury also could have

discredited that testimony because Claudio testified that he did not know whether

Ruggles’s doctor had told Ruggles not to drive as a result of her ankle injury and never

indicated that Ruggles’s injury prevented her from going upstairs to check on Daughter.

       {¶ 58} The jury was also free to disbelieve the testimony that Ruggles had car

trouble. Even if the jury credited the car trouble testimony, the evidence still indicated

that Ruggles failed to wake up in the mornings and make sure that Daughter got on the

school bus. The jury was also free to disbelieve the testimony indicating that Ruggles

encouraged Daughter to go to school and disciplined Daughter when she failed to attend.

       {¶ 59} After reviewing the entire record, weighing all the evidence and reasonable

inferences, and considering witness credibility, we do not find that the jury clearly lost its

way and created a manifest miscarriage of justice by finding Ruggles guilty of all five

counts of contributing to the unruliness of a child.         The weight of the evidence,

particularly the evidence indicating that Ruggles failed to monitor Daughter’s whereabouts

in the mornings and failed to ensure that Daughter either got on the bus or had some

alternate means of transportation to school during the 2022-2023 year, supported the
                                                                                          -28-


jury’s verdicts finding her guilty of contributing to the unruliness of a child. Accordingly,

Ruggles’s convictions were not against the manifest weight of the evidence.

       {¶ 60} Ruggles’s third assignment of error is overruled.



                               Fourth Assignment of Error

       {¶ 61} Under her fourth assignment of error, Ruggles contends that the trial court

committed prejudicial error by prohibiting the admission of certain testimony by Ruggles’s

niece. Specifically, Ruggles takes issue with the trial court’s prohibiting Ruggles’s friend

Jamie from testifying about what efforts Ruggles had made to ensure that Ruggles’s niece

attended school.    The trial court prohibited such testimony on grounds that it was

irrelevant because Ruggles’s niece was not the subject of the charged offenses. The

trial court also found that such testimony could confuse the jurors and cause them to

improperly consider efforts that Ruggles took with her niece when deciding the case.

       {¶ 62} “ ‘The admission or exclusion of relevant evidence rests within the sound

discretion of the trial court.’ ” State v. Jali, 2020-Ohio-208, ¶ 39 (2d Dist.), quoting State

v. Sage, 31 Ohio St.3d 173, 180 (1987). Accordingly, we review a trial court’s decision

on that matter for an abuse of discretion. Id. “A trial court abuses its discretion when it

makes a decision that is unreasonable, unconscionable, or arbitrary.” (Citation omitted.)

State v. Darmond, 2013-Ohio-966, ¶ 34. “An abuse of discretion includes a situation in

which the trial court did not engage in a ‘ “sound reasoning process.” ’ ” Id., quoting State

v. Morris, 2012-Ohio-2407, ¶ 14, quoting AAAA Ents., Inc. v. River Place Community

Urban Redevelopment Corp., 50 Ohio St.3d 157, 161 (1990).               “Abuse-of-discretion
                                                                                            -29-


review is deferential and does not permit an appellate court to simply substitute its

judgment for that of the trial court.” Id., citing Morris at ¶ 14.

       {¶ 63} Except as otherwise provided by law, “[a]ll relevant evidence is admissible,”

and “[e]vidence which is not relevant is not admissible.”            Evid.R. 402.   “ ‘Relevant

evidence’ means evidence having any tendency to make the existence of any fact that is

of consequence to the determination of the action more probable or less probable than it

would be without the evidence.”        Evid.R. 401.     “[I]t is the trial court’s province to

determine whether, under the circumstances, testimony is ‘essentially misleading or too

remote’ to be deemed relevant . . . Trial courts have ‘broad discretion’ in determining

relevance[.]” State v. Yarbrough, 2002-Ohio-2126, ¶ 35, quoting Whiteman v. State, 119

Ohio St. 285, 298 (1928) and State v. Hymore, 9 Ohio St.2d 122, 128 (1967); accord

Thomas v. Bur. of Workers’ Comp., 2016-Ohio-7246, ¶ 105 (2d Dist.).

       {¶ 64} In this case, we find that any effort Ruggles may have taken to ensure that

her niece attended school had no bearing on the charges for which she was being tried,

which pertained solely to Daughter.        Therefore, any testimony regarding Ruggles’s

efforts as to her niece would not have had a tendency to make any fact that was of

consequence to the determination of the charges being tried more or less probable.

Accordingly, it was reasonable and not an abuse of discretion for the trial court to exclude

the testimony in question on grounds that it was irrelevant. It was also reasonable for

the trial court to exclude the testimony as a way to ensure that the jurors did not improperly

consider Ruggles’s efforts with her niece when deciding the case.

       {¶ 65} Ruggles’s fourth assignment of error is overruled.
                                                                                    -30-




                                     Conclusion

       {¶ 66} Having overruled all four of Ruggles’s assignments of error, the judgment

of the trial court is affirmed.

                                   .............



EPLEY, P.J. and TUCKER, J., concur.
